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                  EXHIBIT A
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            IN THE UNITED STATES DISTRICT COURT                 1       APPEARANCES, Continued:
                                                                2         On behalf of Walmart Inc. F/K/A Wal-Mart
               NORTHERN DISTRICT OF OHIO                                  Stores, Inc.
                 EASTERN DIVISION                               3             Jones Day
                                                                              RICHARD M. BRODSKY, ESQ.
                                                                4             150 West Jefferson
                                                                              Suite 2100
               ~~~~~~~~~~~~~~~~~~~~                             5             Detroit, Michigan 48226-4438
        IN RE: NATIONAL PRESCRIPTION MDL NO. 2804                             (313) 733-3939
                                                                6             Rbrodsky@jonesday.com
        OPIATE LITIGATION                                       7         On behalf of CVS Rx Services, Inc. and
                     Case No.                                             CVS Indiana, LLC:
                                                                8             Zuckerman Spaeder LLP
                     17-mdl-284                                               ANTHONY RUIZ, ESQ.
                     Judge Dan Polster                          9             1800 M Street, NW
                                                                              Suite 1000
                                                               10             Washington, DC 20036-5807
                                                                              (202) 778-1823
                                                               11             Aruiz@zuckerman.com
        This document relates to:                              12         On behalf of Endo Health Solutions, Inc.,
        The County of Summit, Ohio, et al., v.                            Endo Pharmaceuticals Inc., Par
                                                               13         Pharmaceutical, Inc., and Par
        Purdue Pharma L.P., et al.,                                       Pharmaceutical Companies, Inc., (FKA Par
        Case No. 1:18-OP-45090 (N.D. Ohio)                     14         Pharmaceutical Holdings, Inc.)
                                                                              Arnold & Porter
                                                               15             HEATHER A. HOSMER, ESQ.
                 ~~~~~~~~~~~~~~~~~~~~                                         601 Massachusetts Ave, N.W.
                                                               16             Washington, D.C. 20001-3743
                Videotaped deposition of                                      (202) 942-5150
                 PATRICIA RIDEOUT                              17             Heather.hosmer@arnoldporter.com
                                                               18         On behalf of Distributor Defendant
                  January 11, 2019                                        McKesson Corporation, Co-Liaison Counsel
                    9:05 a.m.                                  19         for the Distributor Defendants:
                                                                              Covington & Burling LLP
                                                               20             MICHAEL LANOSA, ESQ.
                                                                              1999 Avenue of the Stars
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                                                               22             MLanosa@cov.com
                 3200 Boardwalk Street                         23                ~ ~ ~ ~ ~
                  Ann Arbor, Michigan                          24       ALSO PRESENT:
                                                                          Neal Durkin, Videographer
                  Wendy L. Klauss, RPR                         25                ~ ~ ~ ~ ~



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  2
        On behalf of Cuyahoga County:                               2       APPEARANCES:.............................. 2
  3        McHugh & Fuller Law Group.                               3       INDEX OF EXHIBITS ........................ 5
           AMY J. QUEZON, ESQ.
  4        108 1/2 Capitol Street                                   4       EXAMINATION OF PATRICIA RIDEOUT
           Charleston, West Virginia 25304                                  By Mr. Alexander.......................... 18
  5        (304) 347-8383
           Amy@mchughfuller.com                                     5
  6              -AND-                                                      REPORTER'S CERTIFICATE.................... 355
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 10     On behalf of Distributor                                9
        AmerisourceBergen Drug Corporation,
 11     Co-Liaison Counsel for the Distributor                 10
        Defendants:                                            11
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 17     On behalf of Insys Therapeutics, Inc.:                 18
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                                                               23
 23                                                            24
 24                                                            25
 25



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  1    of choice was; is that your understanding?         1   initiated to do what was ultimately called a
  2            MS. QUEZON: Objection to form.             2   blitz to improve the data specifically focused
  3        A. Yes.                                        3   on the drug of choice and trying to get more
  4        Q. And what do you recall about the            4   accurate information on the number of people
  5    data source issues relating to this issue of       5   who were using opioids or opiates, including
  6    what drug somebody was taking when they had        6   heroin, who were in contact with the system --
  7    some issue with substance abuse and they came      7           MS. QUEZON: Object to form.
  8    in contact with Children and Family Services?      8       Q. -- is that what you are talking
  9        A. As with all other data collection           9   about?
 10    in public child protection work, it's always a    10           MS. QUEZON: Same objection.
 11    bit problematic. We are terribly                  11       A. Yeah. That wasn't an effort to
 12    under-resourced in every way, staff-wise,         12   complete SACWIS, which is completely owned by
 13    dollar-wise, technology-wise, and the state       13   the state, and the counties have no ability to
 14    data collection system is not the best, and so,   14   influence it, or very, very little.
 15    yeah, I had concerns about all kinds of           15           That was entirely my own agency's
 16    different data points that are important to our   16   effort to try to put a spotlight on this
 17    work, including the question about drug and       17   important issue, at a time when we saw what was
 18    alcohol use generally, and about drug of          18   happening elsewhere in the state and wanted to
 19    choice, if you will.                              19   sharpen up our data to make sure we were
 20           Again, my concerns were almost             20   looking at accurate data.
 21    universally around underreporting.                21       Q. You don't recall any statewide
 22        Q. So one of the issues, when you have        22   pushes to try to improve the SACWIS data in
 23    this uncertainty about data, is it's hard to      23   terms of drug of choice in particular?
 24    make comparisons from year to year to look at     24       A. I don't recall, but it may have
 25    whether there is some real change or whether      25   also been part of their concern. It was


                                            Page 38                                                Page 40
  1    there is just change in how data is entered,       1   certainly a local one as well.
  2    right?                                             2       Q. Focusing on the local one, the part
  3            MS. QUEZON: Object to the form.            3   that you had, was there a time when you thought
  4        A. No. I think a broad question like           4   that the entry of drug of choice, including
  5    annual trending is something that we always        5   whether it was an opiate or opioid in general,
  6    did. I'm talking about troubles with far more      6   regardless of whether you could identify which
  7    specific cause-and-effect questions and -- but,    7   particular drug it was and how it was obtained,
  8    no, we were able to tell quite a bit from big      8   got better?
  9    trends.                                            9           MS. QUEZON: Object to the form.
 10        Q. Let me make it more direct. When           10       A. I don't know.
 11    the efforts were, kind of, launched in mid 2014   11       Q. During your term, did that ever
 12    to improve the data in SACWIS, that's the state   12   happen, where you thought that the data was now
 13    system you were referring to?                     13   reliable about what drug somebody was actually
 14        A. Uh-huh.                                    14   abusing?
 15        Q. Yes?                                       15       A. There were no resources for an
 16        A. Yes. I'm sorry.                            16   analysis of that type. Even the so-called
 17        Q. We all do it sometimes. Let me             17   blitz wasn't entirely homegrown,
 18    just go back.                                     18   pencil-and-paper sort of thing. That is the
 19            So the state system that you              19   nature of the IT support we generally get for
 20    referred to, that you said wasn't very good for   20   SACWIS issues.
 21    collecting data while you were working for        21       Q. So for the time period where you
 22    Cuyahoga County, was called SACWIS,               22   have personal knowledge about the data that was
 23    S-A-C-W-I-S, correct?                             23   generated relating to Cuyahoga County Children
 24        A. Right.                                     24   and Family Services, including the drug that
 25        Q. And in 2014, there were efforts            25   somebody was abusing when they were abusing a


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  1   drug, it was never up to the standards where        1   Certainly in a case management one, yes.
  2   you thought it was reliable and accurate?           2        Q. For an individual case, you might
  3           MS. QUEZON: Object to the form.             3   pay attention to that?
  4       A. SACWIS -- as I already said, data            4        A. Yes.
  5   collection in child protection, not just in         5        Q. And so for other drugs, if somebody
  6   Cuyahoga County, but 88 counties in Ohio and 50     6   is taking -- is abusing cocaine, would you ever
  7   states is lousy. I will leave it at that.           7   boil -- you know, kind of get down to whether
  8           So those of us who are responsible          8   they were smoking crack or they were snorting
  9   do what we can with it, but it's not great          9   powder or they were using some cocaine in some
 10   data. The private sector would be appalled.        10   other manner?
 11       Q. So it was never to your standards           11           MS. QUEZON: Object to the form.
 12   of being reliable and accurate?                    12        A. Same answer. We would pay a great
 13       A. No, I wouldn't say that. I mean,            13   deal of attention to that for each individual
 14   it was the best we had, and I'm a firm believer    14   family. There would be not a report out of
 15   that you work from the data available to you.      15   SACWIS, or anywhere else, to give me totals on
 16   You don't discount it because you know there       16   that sort of thing.
 17   are flaws in it.                                   17        Q. And during your first stint back in
 18           And we -- I treated it as reliable,        18   the 90s as deputy director, was that during the
 19   but I always used any other mechanism available    19   time when there was a big cocaine problem in
 20   to me to confirm what I was seeing.                20   Cuyahoga County?
 21       Q. So it's not a criticism of Cuyahoga         21        A. The tail end, yes.
 22   County in general. What I'm trying to get at       22        Q. Back then, did you -- did the
 23   is whether the data that existed during your       23   county or your division within health and human
 24   time in charge was ever specific enough to         24   services, to your knowledge, do any kind of
 25   point to, like, what particular drug somebody      25   analysis of the impact of the cocaine epidemic

                                            Page 42                                                Page 44
  1    was taking or how they ever got it. So why         1   in Cuyahoga County on the provision of public
  2    don't we break that down.                          2   services, like Children and Family Services
  3        A. Yes.                                        3   did?
  4        Q. Okay. So if you have somebody and           4           MS. QUEZON: Object to the form.
  5    they go into some broad bucket of their drug of    5       A. I moved to Cleveland in 95 from a
  6    choice is, you know, THC, or marijuana, right,     6   different area of Ohio that was hit even harder
  7    you know that for somebody like that, that they    7   by crack cocaine. So there were many analyses,
  8    are getting marijuana products that they are       8   but I could not remember who conducted them or
  9    either smoking or ingesting, and that those are    9   in what format, and I don't know specifically
 10    going to be, at that time period, illegal,        10   as to whether the analysis was done in
 11    correct?                                          11   Cuyahoga, because I didn't arrive there until,
 12        A. Uh-huh.                                    12   as I said, pretty much the tail end of that,
 13            MS. QUEZON: Object to the form.           13   the worst of that epidemic, which started in
 14        Q. Yes?                                       14   the 80s.
 15        A. Yes, that's correct.                       15       Q. Just focused on that period 95 to,
 16        Q. If you get that their substance of         16   you said, 98 or 99, when you were deputy
 17    choice, because it's not always drugs, is         17   director of Cuyahoga County Children and Family
 18    alcohol --                                        18   Services, did the abuse that was going on then
 19        A. Uh-huh.                                    19   of cocaine put a financial strain and a
 20        Q. -- you are not boiling down to             20   staffing strain on Children and Family
 21    whether they are focusing on drinking a certain   21   Services?
 22    type of alcohol as their alcohol that they tend   22           MS. QUEZON: Object to the form.
 23    to abuse, right?                                  23       A. Yes, as does every aspect of
 24            MS. QUEZON: Object to the form.           24   parental drug and alcohol use. It's one of the
 25        A. Not in a data perspective.                 25   major drivers of child maltreatment, so it


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  1    heroin or other opiates, or whether they used      1       A. Every societal issue that puts
  2    other stuff first?                                 2   stress on family causes a higher risk of child
  3        Q. Let me ask it more fully, because           3   welfare involved families.
  4    that's not exactly it.                             4           So it is an endless risk. Name
  5        A. Okay.                                       5   everything that we wish were better in our
  6        Q. Do you know if the heroin users in          6   society, it is helping to create threats to
  7    Cuyahoga County or the people who are              7   children's safety, which brings those families
  8    overdosing on fentanyl or fentanyl analogs were    8   to the attention of agencies like CCDCFS -- I'm
  9    generally starting with a legal prescription       9   sorry, Cuyahoga County DCFS, which is the child
 10    for an opioid, written for them and used by       10   welfare agency.
 11    them in a legal fashion?                          11           MS. QUEZON: Abbreviations for
 12        A. I have no data on that.                    12   everything.
 13        Q. You heard people say something             13       A. Sorry.
 14    about this kind of gateway concept, and they      14       Q. Government.
 15    think that was what was driving the sometimes     15       A. Yeah.
 16    called opioid epidemic or heroin epidemic in      16       Q. So I don't know that we can get to
 17    Ohio in general; is that right?                   17   an endless list, but maybe the top five or so
 18        A. My last lengthy answer was                 18   from your perspective. Is substance abuse one
 19    addressing that, in which I shared that I was     19   of maybe the top five drivers?
 20    educated repeatedly, by people who researched     20       A. Yes.
 21    this that, in fact, this problem of legal         21       Q. Is mental health --
 22    prescription drugs leading to opioid addiction,   22       A. Yes.
 23    overdoses, fentanyl problems, you know, was, in   23       Q. -- another driver?
 24    fact, a more recent development and a much        24           And are there also, in your
 25    bigger problem than in the past.                  25   experience, trends in mental health where at


                                            Page 70                                                Page 72
  1         Q. Had you ever looked, if you recall,        1   certain times, like when the economy is bad or
  2    at the data that your folks were pulling out       2   when there is national turmoil or foreign wars
  3    of, like, START or SACWIS during your time         3   or that sort of thing, that there can be
  4    there, to look at the rates of opioid pills        4   changes in rates of mental health?
  5    being used versus heroin usage to see              5        A. You'd have to ask a mental health
  6    whether --                                         6   expert that question.
  7         A. I had no data on that.                     7        Q. What about, like, when there
  8         Q. -- there was some sort of trend            8   is -- let me go on.
  9    that was either consistent with or inconsistent    9            So what are the other things you
 10    with a gateway effect?                            10   would list as the primary drivers of a burden
 11         A. I never had data that was that fine       11   on --
 12    grained.                                          12        A. Poverty.
 13         Q. So let's go back to where we were         13        Q. Okay.
 14    about, kind of, the burdens on the Division of    14        A. And once we talk about poverty,
 15    Children and Family Services.                     15   then we have to unpack that to ask why people
 16            You said there is obviously budget        16   are poor, and then we can get into all cases of
 17    constraints, there is staffing constraints,       17   races and structural and individual, we can get
 18    there are issues of substance abuse in the        18   into unemployment, we can get into -- I mean,
 19    community. Are those right so far?                19   the stuff is multi, multi, multilayered.
 20         A. Yeah.                                     20            So, but, yeah, the presenting
 21         Q. Is there also an economic overlay,        21   problems for families, when they come to the
 22    where when the national economy or the local      22   attention of an agency like this one, will,
 23    economy is not doing as well, you tend to have    23   more often than not, have mental health, drug
 24    more cases or a greater burden?                   24   and alcohol issues prevalently represented,
 25             MS. QUEZON: Object to the form.          25   yeah.


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  1       Q. And then so these minutes, the              1   rarely used." What do you mean by the entry
  2   couple of pages of minutes are attached, who       2   point?
  3   prepared those?                                    3       A. Data entry.
  4       A. I don't remember. My guess -- I'm           4       Q. The people just --
  5   sorry.                                             5       A. The data entry --
  6       Q. Go on.                                      6       Q. Don't do it?
  7       A. My guess is that Jen drafted them,          7       A. -- module isn't being filled in.
  8   and then I edited them, and we sent them out.      8       Q. "Roger Ward," we talked about him
  9       Q. So there was a meeting on April 15,         9   from the state, "has been tasked with getting a
 10   2014 attended by you, Trista Piccola, Tammy       10   handle on the statewide child welfare
 11   Chapman-Wagner, Jackie McCray, Jen Croessmann,    11   experience with opiates. He is creating a flag
 12   and Cindy Weiskittel. We have identified a        12   in SACWIS for keywords to identify cases
 13   couple of them. Who is Jackie McCray?             13   involving drugs; he'll also compare a list to
 14       A. Another deputy director.                   14   services and eventual outcomes for families."
 15       Q. For what area?                             15           The next bullet says, "Our
 16       A. Resources and placements. So she           16   week-long data entry blitz will occur next
 17   had all the foster care/adoption contracting,     17   week. We hope to get a baseline by requiring
 18   that stuff.                                       18   every WOR to enter drug into SACWIS." Have I
 19       Q. And Tammy Chapman-Wagner?                  19   read that right so far?
 20       A. Tammy, along with Cindy, was               20       A. Uh-huh.
 21   responsible for all the direct services, from     21       Q. What is WOR?
 22   the hotline through the ongoing -- including      22       A. Worker of record.
 23   START, case review, all that stuff.               23       Q. That's like the caseworker assigned
 24       Q. So there is a bunch of stuff on the        24   to a case?
 25   first page. Does any of that relate to            25       A. Yeah.


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  1    anything on the impact of drug abuse trends or    1       Q. "Next step. The directive memo on
  2    drug abuse?                                       2   drug of choice entry will go out tomorrow, with
  3        A. I would have to read it all.               3   a cleanup expectation for next week," and we
  4        Q. I can probably speed things up.            4   have gone over that memo. Okay.
  5        A. Great.                                     5           So this is the way, kind of, it
  6        Q. The first thing that I see that has        6   works -- was working within your organization,
  7    anything do with anything about drug or drug      7   there was a meeting, launched a memo, it went
  8    abuse trends or whatever, any of that stuff,      8   out, the minutes might come in later, but all
  9    frankly, we have been talking about, is at the    9   of this was, kind of, coming to a head in April
 10    bottom of the second page --                     10   of 2014, correct?
 11        A. Yes.                                      11       A. It appears so.
 12        Q. -- carrying over to the top of the        12       Q. I'm going to just do, at the risk
 13    third page.                                      13   of making somebody mad at me, I think, kind of
 14            Drug of Choice Issue; do you see         14   like where we were, it's kind of our baseline,
 15    that?                                            15   if you will.
 16        A. Yes.                                      16               - - - - -
 17        Q. And is that the part of this that         17           (Thereupon, Deposition Exhibit 19,
 18    relates to anything about drug abuse or          18           Designated Confidential, April 28
 19    substance abuse?                                 19           2014 Email with Attachment,
 20        A. It basically reflects everything we       20           Beginning with Bates Label CUYAH
 21    have just been talking about.                    21           002450002, was marked for purposes
 22        Q. So it says, "Problem: We have no          22           of identification.)
 23    way to measure the extent/prevalence of drug     23               - - - - -
 24    use or types of preferred drugs among our open   24       Q. Exhibit 19 -- oh, oh, no. I don't
 25    families because SACWIS entry point is so        25   want this one. Give it back. Sorry about


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  1    questions to the time of trial. Thank you very     1           REPORTER'S CERTIFICATE
  2    much.                                              2   The State of Ohio, )
  3            MR. RUIZ: No questions.                    3                    SS:
  4            MR. BRODSKY: No questions.                 4   County of Cuyahoga. )
  5            MR. ALEXANDER: On the phone?               5
  6            A VOICE: No questions.                     6           I, Wendy L. Klauss, a Notary Public
  7            A VOICE: No questions.                     7   within and for the State of Ohio, duly
  8            A VOICE: No questions.                     8   commissioned and qualified, do hereby certify
  9            MR. ALEXANDER: And for the                 9   that the within named witness, PATRICIA
 10    plaintiffs?                                       10   RIDEOUT, was by me first duly sworn to testify
 11            MS. QUEZON: No questions.                 11   the truth, the whole truth and nothing but the
 12            MR. ALEXANDER: I think you are            12   truth in the cause aforesaid; that the
 13    done, Ms. Rideout.                                13   testimony then given by the above-referenced
 14            THE WITNESS: Thank you.                   14   witness was by me reduced to stenotypy in the
 15            THE VIDEOGRAPHER: This concludes          15   presence of said witness; afterwards
 16    the deposition. The time is 4:17, p.m.            16   transcribed, and that the foregoing is a true
 17            MS. QUEZON: We would like read and        17   and correct transcription of the testimony so
 18    sign the deposition.                              18   given by the above-referenced witness.
 19        (Deposition concluded at 4:17 p.m.)           19           I do further certify that this
 20                -----                                 20   deposition was taken at the time and place in
 21                                                      21   the foregoing caption specified and was
 22                                                      22   completed without adjournment.
 23                                                      23
 24                                                      24
 25                                                      25

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  1    Whereupon, counsel was requested to give           1           I do further certify that I am not
  2    instruction regarding the witness's review of      2   a relative, counsel or attorney for either
  3    the transcript pursuant to the Civil Rules.
  4                                                       3   party, or otherwise interested in the event of
  5                SIGNATURE:                             4   this action.
  6    Transcript review was requested pursuant to the
  7    applicable Rules of Civil Procedure.               5           IN WITNESS WHEREOF, I have hereunto
  8                                                       6   set my hand and affixed my seal of office at
  9            TRANSCRIPT DELIVERY:
 10    Counsel was requested to give instruction          7   Cleveland, Ohio, on this 16th day of
 11    regarding delivery date of transcript.             8   January, 2019.
 12
 13                                                       9
 14                                                      10
 15
 16                                                      11
 17                                                      12
 18
 19                                                      13           <%2222,Signature%>
 20                                                      14           Wendy L. Klauss, Notary Public
 21
 22                                                      15           within and for the State of Ohio
 23                                                      16
 24
 25                                                      17   My commission expires July 13, 2019.



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